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                              MINUTES OF THE UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF CALIFORNIA

  CORONA v. MRS BPO, LLC. et al                                         Case No. 13cv1511 WQH(RBB)
                                                                         Time Spent: 0 hrs. 5 min.

  HON. RUBEN B. BROOKS                       CT. DEPUTY VICKY LEE                           Rptr.

                                                     Attorneys
                    Plaintiffs                                          Defendants

  Jeffrey R. Menard                                        Cindy Salvo



  PROCEEDINGS:                  In Chambers              In Court        X   Telephonic


  A telephonic, attorneys-only case management conference was held.

  A telephonic attorneys-only settlement disposition conference will be held on
  January 21, 2014, at 8:30 a.m. in the chambers of Magistrate Judge Brooks
  UNLESS THE ORIGINAL SIGNED JOINT MOTION TO DISMISS THIS CASE IS E-FILED PRIOR
  TO THAT TIME AND A PROPOSED ORDER GRANTING THE JOINT MOTION IS E-MAILED TO
  THE ASSIGNED DISTRICT JUDGE. If a signed Joint Motion cannot be e-filed
  before the date indicated above, counsel shall contact the chambers of
  Magistrate Judge Brooks at least one court day before the date indicated
  above to explain the reasons therefor. If the parties wish to consent to
  continuing magistrate judge jurisdiction, a consent form signed by parties
  and counsel shall accompany the stipulation for dismissal. Consent forms are
  available in the Clerk's Office or on-line. Monetary sanctions shall be
  imposed for failure to comply with this order.

  In order to participate in the January 21, 2014 settlement conference,
  counsel for Defendant must be admitted pro hac vice in the Southern District
  of California pursuant to the Local Civil Rule 83.3(c)(4). In the
  alternative, Defendant may designate local counsel to appear at the
  conference. S.D. Civ. R. 83.3(c)(5).

  Counsel for Plaintiff is to initiate the call.




  DATE: December 3, 2013                            IT IS SO ORDERED:    _________________________
                                                                         Ruben B. Brooks,
                                                                         U.S. Magistrate Judge
  cc:     Judge Hayes                                                   INITIALS: VL (mg) Deputy
          All Parties of Record



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